Case 1:20-cv-00943-BAH Document9 Filed 01/11/21 Page 1of1

AO 458 (Rev. 06/09) Appearance of Counsel

To:

UNITED STATES DISTRICT COURT

for the

District of Columbia

United StatesofAmerica —~—=CSYs
Plaintiff )
V. ) Case No.  1:20-cv-00943-BAH
Louis H. Henderson )
Defendant )
APPEARANCE OF COUNSEL

The clerk of court and all parties of record
I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

Louis H. Henderson, Defendant _

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Attorney's signature

_________ Sean M. Akins, D.C. Bar No. 983671 =

Printed name and bar number

 

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